 Case 2:18-cv-10588-SJO Document 19 Filed 03/14/19 Page 1 of 6 Page ID #:159




     1        Insperity Retirement Services
            -        -.,~.
 2            Attn: Legal Department                                             ~ 14 ~Oi9
         ~ ~ (3n~cr~;sr~icr: AnA~aess
 3
              P.O. Box 198$
 4
              Kingwood, Texas 77347-1988
 5
 6           281-312-3485
           Ci,4h NISFIG~. ~CBLEPtfON ~'
 7           doug.sivula@insperity.com
 8
 9
                                                   UNITED STATES DISTRICT COURT
10
                                             FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
            UNITED STATES OF AMERICA,                          ~ No. CV 18-10588-SJO
12
                                              Plaintiff,           [CR 99-0188-MMM-4]
13
14                                      v.                         ANSWER OF GARNISHEE
                                                                   1NSPERITY RETIREMENT
15          VINCENT JOHN RABIOLA,                                  SERVICES
16
                                              Defendant,
17
18
19 ;
20
21
22
23
24
25
26
27
28


                                                               1
Case 2:18-cv-10588-SJO Document 19 Filed 03/14/19 Page 2 of 6 Page ID #:160




     1    DECLARANT 5TATES:
  2           My name is   John Stanton                                              and my address and telephone
  3       numher are        19001 Crescent Springs Drive, Kingwood, Texas 77339; and 281-348-3749.

  4
  5              1.        I am authorized to make this declaration on behalf of Garnishee
  h            Insperity Retirement Services, ~.P. regarding the writ of continuing garnishment
  7       received by Garnishee on or about ~er,uary 2s, 2o~s
  8       1F GARNISHEE IS AN INDIVIDUAL:
  9                      N/A           ~          is the Garnishee herein, doing business in the name of
 10
 11       IF GARNISHEE IS A PARTNERSHIP:
                                                                     Vice President, Retirement
 l2              The person making tlYis declaration is servi~e5 op~ra~~ons                       ~ of the Garnishee,
                                                                                  Insperity Rt~Urement
 13       which is a partnership conducted under the name of                      s~~~ces. t,P.           at
                Kingwood, Texas
 14
 15      IF GARNISHEE IS A CORPORATION:
 16             The person making this declaration is the _                            NSA                          of
                                                                                        „: --        -.
 17
         Garnishee                                         a corporation, organized under the laws of the
 l8
         State af'
 19
                2.       As of ~a2te]      March 4, 2o~s             Garnishee has custody, control, or
 20
         possession. of the following funds, assets, and/or property, in which Defendant has a
21
         nonexempt interest;
 22
         tJcs~riratiar~ t~!' ~'rut3~'rty    .~~t~~~~•f~xiif~ai~c~ ~t~luc~           Uesc~•ir~tion ~►~`Def~t~tlant's
23
                                                                                    I~it~rc~st in 1'rarr~~•t~v
24
         d 401(k) Account                   $47,895.58                               Recordkeeper of Insperity 401(k) Plan
25
         n.
26
         ~;,
27
         d.
28



                                                                ,~
  Case 2:18-cv-10588-SJO Document 19 Filed 03/14/19 Page 3 of 6 Page ID #:161




  1              3.      Garnishee anticipates owing to Defendant in the future, the following
  2    amounts:
  3              Amounts                                            Estimate Date or Period Due
 4              $                N/A
       a.

 5     b.       $
  b    c.
 7              4.      Is Defendant subject to an existing garnishment or levy? ❑Yes ~ No
 8                      If yes, what is the outstanding amount now due and owing? $
 9              5.      If Garnishee is unable to determine the identity of Defendant after making a
10    good faith effort to do so, the following is a statement of Garnishee's efforts made and
11    the reasons fox such inability: _          NIA
12
13
14              6.      Garnishee owed Defendant the sum of$ $a~,807.94                            on the date the writ
15    ofcontinuing garnishment was served for the following reasons:
16          Balance available for distribution from 401(k) account in the Insperity 401(k) Plan.

17
18              7.      Un [date] January 29, 2019 Garnishee commenced                  withholding and retaining
19    Defendant's nonexempt assets, funds, and/or property and will continue to withhold. and
20    retain such nonexempt assets, funds, and/or property until further order from the Court.
21             8.       Garnishee mailed a copy of this answer by first-class mail on this date to:
22 (a) Defendant, at the address provided by the United States of America and (b) The U.S.
23    Attorney's Office for the Central District of California, ATTN: Financial Litigation
24    Section, Suite 7516, Federal Building, 30U N, Los Angeles St., Los Angeles, California
25    90012.
26             I declare under penalty of perjury that I have read the foregoing document and that
27    the statements made therein are true and correct. Executed on                         March 4        ,2019.
28
                                                                  SI     ATU        (JF DECLARANT


                                                                7
 Case 2:18-cv-10588-SJO Document 19 Filed 03/14/19 Page 4 of 6 Page ID #:162




     1                             PR()nF OF SERVICE BY M~rL~N(::
 2              j        Erin Delagarza             declare:
 3             I am over the age of eighteen and am not a party to the above-entitled action;
 4             That I am employed by             ~nsperity          ~        herein was made;
 5       that on ~ Marcn a, 2o~s               [Date],I deposited in the above-entitled action, in an
 6       envelope bearing the requisite postage, a copy of ANSWER OF GARNISHEE
 7 INSPERITY RETIREMENT SERVICES addressed to:
 8                           U.S. Attorney's Office for the Central District of California
                             ATTN: Financiai Litigation Section
 9
                             Room 7516AA,Federal Building
10                           300 North Los Angeles Street
1Z                           Los Angeles, California 90012
12                           Vincent John Rabiola
                             Beverly Hills, California 90212-3017
13
14       at their last known address provided by the United States, at which place there is a
15       delivery service by U.S. Mail,
               This Certificate is executed on __ ....             March 4, 209
16                                                           ___          ___._.____r     __._ _.[Date] at
17                        Kingwood    _                  ~Ci~,~~         Texas                 [State].

18             I certify under penalty of perjury that the foregoing is true and correct.
19
20
                                                         ~    .I~~/~-/                  t/t.
21                                                       Signature
22
23
24
25
26
27
28



                                                         4
      Case 2:18-cv-10588-SJO Document 19 Filed 03/14/19 Page 5 of 6 Page ID #:163

r~         •                                                  Erin Delagarza
     Insperity                                                Legal Administrative Assistant
                                                              PHONE:(281) 348-3915 ~ FAX:(281) 358-3908
     Inspiring Business Performance°                          Email: erin.delagarzaa(~insperitv.com




     March 5, 2019


     VIA Certired Mail

     Edward R. Roybal Federal Building and U.S. Courthouse
     District Court Clerk's Office
     255 East Temple Street
     Los Angeles, CA 90012-3332


              Re:     Writ of Continuing Garnishment
                      united States v. Rabiola
                      No. CIS18-10588-SJO[CR 99-0188-MMM-4J


     Mr. Roybal,

     Enclosed is a copy of the Answer of Garnishee Insperity Retirement Services and the Proof of
     Service by Mailing in the above referenced matter.

     Sincerely,


     ~Q,1l.V~,~                  l/1,
     Erin Delagarza

     /encl.




     19001 Crescent Springs Drive, Kingwood,TX 77339
     281-358-8986 ~ 800-237-3170 ~ insperity.com
                                                                            P{~,' U.S. POSTAGE~~PtTN
                                                                      •4;   .~• +   ~     ~.
                                                                 ~r                     o .--                                                                                 .
                                                                '
                                                                ,L •. L
                                                                :'r~• ~     }-~+~ ZIP 77032 ~ oo
                                                                                  02 1 VY
                                                                                  0001403374 MAR 0




i
ti       •                         19601
                                       [rescent Springs Drive
~l ~~~~~~1~                        Kingwood, Texas T;339-3362
 Inspiring Business Performance"
                                               insperiry.com




Edward R. Roybal Federal Building
and U.S. Courthouse
District Court Clerk's Office
255 East Temple Street
Los Angeles, CA 90012-3332
                                                                                                Case 2:18-cv-10588-SJO Document 19 Filed 03/14/19 Page 6 of 6 Page ID #:164
